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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              CENTRAL DIVISION

UNITED STATES OF AMERICA                                                        PLAINTIFF

v.                             Case No. 4:20-cr-305 LPR

FREDERICK JACKSON                                                             DEFENDANT

                                ORDER OF DETENTION

       Defendant appeared with counsel on this date for his Motion for Release from

Custody (Doc. No. 20). Following the testimony and argument of the parties, the Court finds

no condition or combination of conditions that would reasonably assure Defendant’s

appearance and the safety of the community.

       The suggested release plan, while the Court has no doubt based upon representations

by proffer that the proposed third-party custodian would carry out the necessary obligations,

is inadequate. The Court is concerned that, on at least eleven occasions while on supervision,

Defendant has absconded, been revoked, or been arrested following release from custody.

He has never successfully completed conditions of release, and the Court has no confidence

he would do so now. Therefore, based on the record, the Court finds no condition or

combination of conditions that would reasonably assure Defendant’s appearance and the

safety of the community. Accordingly, Defendant is remanded into the custody of the United

States Marshals Service (USMS) pending trial.

       While detained, the Defendant must be afforded a reasonable opportunity to consult

privately with defense counsel in person, by telephone, and by video conferencing, where

feasible. Further, on order of the United States Court or on request of an attorney for the
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Government, the person in charge of the corrections facility must deliver the Defendant to

the United States Marshal for a court appearance.

      SO ORDERED this 16th day of December, 2020.




                                             ____________________________________
                                              UNITED STATES MAGISTRATE JUDGE




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